                        Case: 1:18-cv-08277 Document #: 13 Filed: 12/21/18 Page 1 of 2 PageID #:60
-..v ��" 1_11.ev. u:>1UU) ;:,wnmons ma Civ:tl Action




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                                                                                                                   IVILC
ABRAHAM CALDERON

                                                                               CASE NUMBER:               1: 18-CV-08277
                                      V.                                       A.:'.:>::>llJNblJ JUDGE:
                                                                                                          Hon. John Z. Lee
THE VILLAGE or BRIDGEVIEW. ILLINOIS; VII.I.AGE OF BRLDGEVIEW. ILUNOIS POLICE
OFFICER. STAR NO. 25; DEBRA AUGLE; UNKNOWN MALE EMPLOYEE OF THE VILLAGE
OF BRIDGEVIEW; MONTERREY Sl:CURITY CONSULTANTS. INC.; JESSE ORTIZ; DANIEL      DESIGNATED
NESIS; ALEJANDRO MIRET: MICHAEL BOYLE: UNKNOWN MALE MONTERREY
EMPLOYEE NO. 233; UNKNOWN MALE EMPLOYEE; NELSON RODRIGUEZ; MARIO
GONZALEZ: UNKNOWN "SOCCER SECURITY AGEm.. , and GENEVIEVE MARJE LEFEVOUR
                                                                               MAGISTRATE JUDGE:          Hon. Jeffrey Cole


                       TO: (Name and address of Defendant)
                    Genevieve M. Lefevour
                    Johnson & Bell
                    33 West Monroe St. Suite 2700
                    Chicago, IL 60603


           YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                   James C. Vlahakis
                   Sulaiman Law Group, Ltd.
                   2500 S. Highland A venue, Suite 200
                   Lombard. Illinois 60148


                                                                               21
an answer to the complaint which is herewith served upon you,        _________ days after service ofthis
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period oftime after service.




      THOMA�G.BRUTON,CLERK
          ('/ /1/)
                 ?-Y.�A                                                                                   December 18, '.Will

      (By) DEPUTY CLERK                                                                                   DATE
                 Case: 1:18-cv-08277 Document #: 13 Filed: 12/21/18 Page 2 of 2 PageID #:61


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1 :18-cv-08277

                                                           PROOF OF SERVICE
                       (This section should not be.filed with the court unless required by Fed. R Civ. P. 4 ([))

           This summons for (name of individual and title,     if any)     Abraham Calderon v Genevieve M LeFevour-Johnson & Bell
 was received by me on (dale)                     12/18/2018

           n   l personally senred the summons on lhe individual at (place) 33 W. Monroe, Suite 2700, Chicago, IL 60603
                                                                                     on (date)                             ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           fl I served the summons on (name ofi11divid11al)              Janice Williams                                            , who is
            designated by law to accept service of process on behalf of (name of organization)
           Genevieve M. LeFevour - Johnson & Bell                                    on (date)         12/20/2018          ; or

           0 I returned the summons unexecuted because                                                                                   ; or

           n   Other (speci,M:




           My fees are$                            for travel and$                         for sen,ices, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:          12/15/2018


                                                                                    Michael Costanza - Process Server
                                                                                              Printed name and litle

                                                                                          R.O.S. Consulting, Inc.
                                                                         23900 W. Industrial Dr. South, Suite 3, Plainfield, IL 60585
                                                                                                117-001339
                                                                                                 Server's address


 Additional infomiation regarding attempted service, etc:
